





6-96-028-CV Long Trusts v. Dowd                                     


















In The
Court of Appeals
Sixth Appellate District of Texas at Texarkana

______________________________

No. 06-04-00117-CV
______________________________



IN RE:  LINDA ZUFLACHT, INDIVIDUALLY, 
AND ADOPTION SERVICES ASSOCIATES





Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;

Original Mandamus Proceeding





Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;


Before Morriss, C.J., Ross and Carter, JJ.
Opinion by Justice Carter



O P I N I O N

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Relator, Linda Zuflacht, individually and in her capacity as director for Adoption Services
Associates (ASA), has filed a petition for writ of mandamus to compel the Honorable Robin Sage,
307th Judicial District Court, Gregg County (the trial court) (1) to vacate its order of October 11,
2004, which denied Relator's pleas in abatement and plea to the trial court's jurisdiction; (2) to vacate
the trial court's order to present the child for paternity testing; and (3) to dismiss the action filed by
the real party in interest, Timothy Guy Summerfield.  Finding that the 408th Judicial District Court
of Bexar County has continuing, exclusive jurisdiction of this matter, we will conditionally grant
Relator's request, pending the trial court's compliance with our ruling.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Following the filing of the mother's affidavit of voluntary relinquishment of parental rights
to a licensed child-placing agency and an affidavit of the status of the child, the 408th Judicial
District Court of Bexar County signed a decree terminating the parental rights of the mother and the
child's father, found to be unknown in the 408th court's termination order.  The termination order
was signed June 2, 2004.  The 408th Judicial District Court, Bexar County, named ASA as managing
conservator of the child.  The mother's affidavit of status stated that she was not married at the time
the child was born and that she did not know the identity of the father.  A publisher's affidavit shows
that notice to the unknown father was published in Gregg County, where the real party in interest,
Summerfield, filed an original suit affecting the parent-child relationship July 12, 2004, in the 307th
Judicial District Court, Gregg County.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Following a hearing October 11, 2004, the 307th Judicial District Court, Gregg County,
entered an order denying the ASA's request for continuance and pleas in abatement and plea to the
jurisdiction, and deferring a ruling on ASA's motion to transfer the case to the 408th Judicial District
of Bexar County.  The 307th court further ordered the child to be produced for DNA paternity
identification.   
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;ASA filed this petition for writ of mandamus and a request for temporary orders.  On
OctoberÂ&nbsp;20, 2004, this Court stayed the trial court's order for paternity identification testing and
directed Summerfield to respond to ASA's requests for mandamus and for temporary orders.  
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;The 408th Judicial District Court of Bexar County was vested with continuing, exclusive
jurisdiction of this matter when the affidavit of voluntary relinquishment and the affidavit of the
status of the child were filed.  That court continued to assert its jurisdiction with issuance of the
order of termination.  See Tex. Fam. Code Ann. Â§ 155.001 (Vernon 2002); Cruz v. Scanlan, 682
S.W.2d 422, 423 (Tex. App.âHouston [1st Dist.] 1984, no writ) (district court acquired continuing,
exclusive jurisdiction when the petition for termination and adoption were filed; the probate court's
subsequent appointment of temporary guardian was ineffective). 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Summerfield directs us to discrepancies in the child's date and time of birth, evidenced by
the information contained in the birth certificate, by ASA's pleadings, and by the testimony of
Zuflacht.  Summerfield also claims that the mother's voluntary relinquishment affidavit does not
show it was executed more than forty-eight hours after the child's birth.  See Tex. Fam. Code Ann.
Â§ 161.103 (Vernon Supp. 2004â2005).  Summerfield alleges ASA is guilty of "perjurious
statements" and misconduct, which estop that party from contesting any jurisdictional dispute.  In
support of this argument, Summerfield cites Curtis v. Gibbs, 511 S.W.2d 263 (Tex. 1974).  Curtis
involved a situation where the initial divorce order predated the Texas Family Code.  Since there was
no court of continuing jurisdiction before the pleadings which instituted the reported case, the Texas
Supreme Court found that the first court in which pleadings were filed after JanuaryÂ&nbsp;1, 1974, was
the court of dominant jurisdiction.  Id. at 266â67.  One of the purposes of the Texas Family Code
was to avoid forum contests by establishing courts of continuing, exclusive jurisdiction.
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;More, importantly, however, we do not find, based on the record before us, there is sufficient
evidence ASA is "guilty of such inequitable conduct as will estop [it] from relying on [the first filed
suit, in the 408th] to abate a subsequent proceeding brought by [it] adversary," here, Summerfield's
subsequent suit filed in Gregg County.  See id. at 267.  It is true that less than forty-eight hours would
have elapsed between the child's date and time of birth as evidenced on the birth certificate and the
date and time noted on the mother's affidavit of voluntary relinquishment.  However, the record
before us is not sufficient to establish that such inconsistencies are the type of inequitable conduct
as would estop ASA from proceeding in Bexar County. 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Any discrepancy between the birth certificate and the mother's affidavits, or any other
evidence which might be adduced regarding the merits of the case, do not involve the forum or
venue.  Cf. Sweezy Constr., Inc. v. Murray, 915 S.W.2d 527, 532 (Tex. App.âCorpus Christi 1995,
orig. proceeding [mand. denied]) (allegations of misrepresentations between parties, even if going
to the heart of the controversy, do not bear on the choice of forum).  From the scant record before
us, it appears ASA instigated a suit to terminate the parent-child relationships and place the child for
adoption at a time when the child resided in Bexar County.  None of the issues involved in the
instant controversy bear on the initial choice of forum; yet the issues in both the Bexar County suit
and the suit filed in Gregg County involve the same issues and parties. 
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;It is clear that jurisdiction was established in the Bexar County District Court.  Summerfield
has failed to demonstrate that the conduct of the mother or relative estops ASA from proceeding in
the Bexar County District Court.  Based on the foregoing analysis, we conclude the 307th Judicial
District Court in Gregg County was under a ministerial duty to dismiss Summerfield's action in favor
of the 408th court in Bexar County.  We conclude the trial court erred by failing to dismiss this
proceeding, as a court of continuing, exclusive jurisdiction had been previously established.  The
petition for writ of mandamus is therefore conditionally granted.  The writ will issue only if the trial
court fails to take appropriate action in accordance with this opinion.
Â&nbsp;
Â&nbsp;
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Jack Carter
Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Justice
Â&nbsp;
Date Submitted:Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;November 10, 2004
Date Decided:Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;November 12, 2004



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                             In
The

                       &nbsp; Court
of Appeals

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Sixth
Appellate District of Texas at Texarkana

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Appellant

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Judicial District Court

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Court No. 22913

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Carter and Moseley, JJ.

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Memorandum Opinion by Justice Moseley








Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; MEMORANDUMÂ&nbsp;
OPINION

Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Oswald
Henderson Jones, Jr., appeals from his conviction by a jury for the offense of
aggravated assault with a deadly weapon.Â&nbsp;
Tex. Penal Code Ann. Â§ 22.02(a)(2)
(Vernon Supp. 2009).Â&nbsp; The offense was
enhanced,[1]
and he was sentenced to seventy-five yearsÂ imprisonment and a $10,000.00
fine.Â&nbsp; He was represented by appointed
counsel at trial and on appeal.Â&nbsp; After
voir dire, and as trial was about to commence, Jones demanded to represent
himself at trial.Â&nbsp; The court admonished
him, obtained a written waiver, and allowed him to represent himself with
appointed counsel on standby.Â&nbsp; Jones
continued to represent himself, questioning witnesses and raising various
objections, until the StateÂs seventh witness had completed his testimony, at
which point Jones asked the trial court to allow his appointed counsel to take
over representation for the remainder of the case.Â&nbsp; Counsel then completed the trial.

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; JonesÂs
attorney on appeal has filed a brief which discusses the record and reviews the
proceedings in detail.Â&nbsp; Counsel has thus
provided a professional evaluation of the record demonstrating why, in effect,
there are no arguable grounds to be advanced.Â&nbsp;
This meets the requirements of Anders
v. California, 386 U.S. 738 (1967); Stafford
v. State, 813 S.W.2d 503 (Tex. Crim. App. 1981); and High v. State, 573 S.W.2d 807 (Tex. Crim. App. [Panel Op.] 1978).

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Counsel
mailed a copy of the brief to Jones on January 26, 2010, informing Jones of his
right to file a pro se response and of his right to review the record.Â&nbsp; Counsel has also filed a motion with this
Court seeking to withdraw as counsel in this appeal.Â&nbsp; Jones has neither filed a proÂ&nbsp;se
response, nor has he requested an extension of time in which to file such
response.

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; We
have determined that this appeal is wholly frivolous.Â&nbsp; We have independently reviewed the clerkÂs
record and the reporterÂs record, and we agree that no arguable issues support
an appeal.Â&nbsp; See Bledsoe v. State, 178 S.W.3d 824, 826Â27 (Tex. Crim. App.
2005).Â&nbsp; 

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; In
a frivolous appeal situation, we are to determine whether the appeal is without
merit and is frivolous, and if so, the appeal must be dismissed or
affirmed.Â&nbsp; See Anders, 386 U.S. 738.Â&nbsp;Â&nbsp; We
affirm the judgment of the trial court.[2]

Â&nbsp;

Â&nbsp;

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Bailey
C. Moseley

Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; Justice

Â&nbsp;

Date Submitted:Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; April
13, 2010

Date Decided:Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp;Â&nbsp; April
14, 2010

Â&nbsp;

Do Not Publish

Â&nbsp;











[1]The
enhancement was a felony committed in 1991 for aggravated sexual assault on a
child. 





[2]Since
we agree this case presents no reversible error, we also, in accordance with Anders, grant counselÂs request to
withdraw from further representation of Jones in this case.Â&nbsp; No substitute counsel will be appointed.Â&nbsp; Should Jones wish to seek further review of
this case by the Texas Court of Criminal Appeals, Jones must either retain an
attorney to file a petition for discretionary review or Jones must file a pro
se petition for discretionary review.Â&nbsp;
Any petition for discretionary review must be filed within thirty days
from the date of either this opinion or the last timely motion for rehearing
that was overruled by this Court.Â&nbsp; See Tex.
R. App. P. 68.2.Â&nbsp; Any petition for
discretionary review must be filed with this Court, after which it will be
forwarded to the Texas Court of Criminal Appeals along with the rest of the
filings in this case.Â&nbsp; See Tex.
R. App. P. 68.3.Â&nbsp; Any petition for
discretionary review should comply with the requirements of Rule 68.4 of the
Texas Rules of Appellate Procedure.Â&nbsp; See Tex.
R. App. P. 68.4.







